              Case 3:22-cv-05150-JHC Document 13 Filed 04/21/22 Page 1 of 2




 1                                                           The Honorable John H. Chun
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 5
                                  UNITED STATES DISTRICT COURT
 6
                                 WESTERN DISTRICT OF WASHINGTON
 7
                                        TACOMA DIVISION
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     SECURITIES AND EXCHANGE
11   COMMISSION,                                   Case No.: 3:22-cv-05150-JHC
12                  Plaintiff,
13
     v.                                            CERTIFICATE OF SERVICE
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     S-RAY INCORPORATED and
16   STEPHEN ALEXANDER BAIRD,
17                  Defendants.
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                                                                 Securities and Exchange Commission
     CERTIFICATE OF SERVICE                                         44 Montgomery Street, Suite 2800
     (No. 3:22-cv-05150-JHC)                                                 San Francisco, CA 94104
                                                                                      (415) 705-2445
                Case 3:22-cv-05150-JHC Document 13 Filed 04/21/22 Page 2 of 2




 1          I hereby certify that on April 21, 2022, I caused the following document:

 2          •   MINUTE ORDER REASSIGNING CASE (ECF No. 12)

 3   to be sent by email to the following:

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 6          Counsel for Defendant S-Ray Incorporated

 7
 8
 9
     Dated: April 21, 2022
10
                                                  s/ Robert J. Durham
11                                               Robert J. Durham
                                                 Securities and Exchange Commission
12                                               44 Montgomery Street, Suite 2800
                                                 San Francisco, California 94104
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                                                                              Securities and Exchange Commission
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